
OFINION.
TRAmmell:
The question here involved is governed by previous decisions of the Board and upon authority of those decisions it is held that the invested capital of the petitioner should not be reduced in determining the extent to which a dividend is paid from current earnings of the year by a “ tentative tax ” theoretically set aside out of earnings pro rata over the year. L. S. Ayers &amp; Co., 1 B. T. A. 1135; Georgia Car &amp; Locomotive Co., 2 B. T. A. 986; Rhode Island Tool Co., 3 B. T. A. 180; Washington Hotel Co., 4 B. T. A. 441 Gardner Governor Co., 5 B. T. A. 70; Levine Brothers Co., Inc., 5 *903B. T. A. 689; A. M. Robinson Co., 5 B. T. A. 1217; All America Cables, Inc., 10 B. T. A. 213.

Ordered that judgment pursuant to the find-mgs of fact and opinion be rendered under Rule 50.

